
48 So.3d 1004 (2010)
STATE of Florida, Appellant,
v.
M.W., a Child, Appellee.
No. 5D09-3640.
District Court of Appeal of Florida, Fifth District.
December 3, 2010.
Bill McCollum, Attorney General, Tallahassee, and Kristen L. Davenport, Assistant Attorney General, Daytona Beach, for Appellant.
James S. Purdy, Public Defender, and Susan A. Fagan, Assistant Public Defender, Daytona Beach, for Appellee.
PER CURIAM.
For the reasons explained in State v. A.C., 44 So.3d 1240 (Fla. 5th DCA 2010), we reverse the disposition in this case and remand with instructions that the trial court either impose the disposition recommended by the Department of Juvenile Justice or, if a different disposition is warranted, support any alternate disposition with written reasons as required by E.A.R. v. State, 4 So.3d 614 (Fla.2009).
REVERSED and REMANDED WITH DIRECTIONS.
LAWSON, EVANDER and COHEN, JJ., concur.
